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                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION


 UNITED STATES OF AMERICA                         §
                                                  §
 vs.                                              §                   2:03CR19(20)
                                                  §
 AUGUSTINE BOYD                                   §


                          REPORT AND RECOMMENDATION OF
                        THE UNITED STATES MAGISTRATE JUDGE

        On November 16, 2007, the court held a hearing on the government’s petition (#1017) to

 revoke supervised release. The government was represented by Assistant United States Attorney Mr.

 Alan Jackson. The defendant was represented by Mr. Charles VanCleef.

        Augustine Boyd was sentenced on June 10, 2004, before The Honorable U.S. District Judge

 T. John Ward of the Eastern District of Texas – Marshall Division, after pleading guilty to the

 offense of possession with intent to distribute cocaine base, a Class C felony. This offense carried

 a statutory maximum imprisonment term of 20 years. The guideline imprisonment range, based on

 a total offense level of IV and a criminal history category of 23, was 70 to 87 months. Augustine

 Boyd was subsequently sentenced to 46 months imprisonment followed by three (3) years of

 supervised release subject to the standard conditions of release, plus special conditions to include

 participation in a program of testing and treatment for drug abuse as directed by the probation

 officer. On April 4, 2006, Augustine Boyd completed his period of imprisonment and began service

 of the supervision term.

        On October 24, 2006, the instant petition to revoke was filed. In its petition, the government

 alleges the defendant violated the following condition:
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            1) The defendant shall not commit another federal, state or local crime. Specifically, the

 government alleges as follows: On or about August 18, 2007, Mr. Boyd was arrested for causing

 bodily injury to Caprina Mahaffey, a member of Mr. Boyd's family and/or household, and for

 possession of a controlled substance (Alprazolam) in an amount less than 28 grams. On September

 4, 2007, Mr. Boyd was convicted of each count in Harrison County, Texas, and sentenced to 90 days

 in jail.

            The court scheduled a revocation hearing for November 16, 2007. At the hearing on the

 government’s petition, and after consenting to the undersigned’s taking the plea, the defendant pled

 true to the allegations as set forth above. Based on the defendant’s plea of true to the allegations,

 and with no objection by the defendant or the government, the court found that the defendant did

 violate his conditions of supervised release as alleged in the U.S. Probation Office’s petition.

            The court thereafter recommended that the defendant be committed to the custody of the

 Bureau of Prisons to be imprisoned for nine (9) months, with no term of supervised release to follow

 such term of imprisonment. Based on the foregoing, it is

            RECOMMENDED that the defendant’s plea of true to the allegation as set forth in the

 government’s petition be ACCEPTED. Based upon the defendant’s plea of true to the allegations,

 it is further recommended that the court find the defendant violated a condition of his supervised

 release. It is further

            RECOMMENDED that the defendant’s supervised release be REVOKED. It is further

            RECOMMENDED that the defendant be committed to the custody of the Bureau of Prisons

 to be imprisoned for a term of nine (9) months, with no term of supervised release to follow such

 term of imprisonment.


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        A party's failure to file written objections to the findings, conclusions and recommendations

 contained in this Report within ten days after being served with a copy shall bar that party from de

 novo review by the district judge of those findings, conclusions and recommendations and, except

 on grounds of plain error, from appellate review of unobjected-to factual findings and legal

 conclusions accepted and adopted by the district court. Douglas v. United States Auto. Ass’n, 79

 F.3d 1415, 1430 (5th Cir. 1996) (en banc).

       SIGNED this 3rd day of January, 2008.




                                                      ___________________________________
                                                      CHARLES EVERINGHAM IV
                                                      UNITED STATES MAGISTRATE JUDGE




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